                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PROTECT OUR PARKS, INC., et al.
                              )
                              )
                              )
               Plaintiffs,    )
                              )
       v.                     )                         Case No. 21 CV 2006
                              )
PETE BUTTIGIEG                )                         Judge Jorge L. Alonso
SECRETARY OF THE U.S.         )
DEPARTMENT OF TRANSPORTATION, )
et al.                        )
                              )
               Defendants.    )




NOTICE OF DEFENDANTS CITY OF CHICAGO AND CHICAGO PARK DISTRICT’S
 RESPONSE TO NOTICE OF PLAINTIFFS’ OBJECTION TO MINUTE ENTRY OF
                          APRIL 27, 2021



        Defendants City of Chicago (“City”) and Chicago Park District (“Park District”) hereby

respectfully notify the Court that, today, they filed in Protect Our Parks, Inc. et al. v. Chicago

Park District, et al., No. 18-cv-3424, the attached Defendants City of Chicago and Chicago Park

District’s Response to Notice of Plaintiffs’ Objection to Minute Entry of April 27, 2021.

        Plaintiffs also filed in this case the same objection to the April 27, 2021 minute entry that

they filed in Case No. 18-cv-3424. See Dkt. 14. The attached document thus serves as the City

and Park District’s response to Plaintiffs’ filing in this case.
Date:   May 3, 2021                                 Respectfully submitted

BURKE, WARREN, MACKAY &                             CELIA MEZA,
SERRITELLA, P.C.                                    Acting Corporation Counsel for the City of
Counsel for the Chicago Park District               Chicago

By:     /s/ Joseph P. Roddy                         By:    /s/ Andrew Worseck

Richard W. Burke                                    John Hendricks
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                                                    (312) 744-6975 / 4-7129
                                                    Attorneys for Defendant City of Chicago




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                                 CERTIFICATE OF SERVICE

       I, Andrew Worseck, an attorney, hereby certify that on this, the 3rd day of May, 2021, I

caused copies of the above Notice of Defendants City of Chicago and Chicago Park District’s

Response to Notice of Plaintiffs’ Objection to Minute Entry of April 27, 2021, to be

electronically filed with the Clerk of the United States District Court for the Northern District of

Illinois using the CM/ECF system, which will send notification of such filing to all parties that

have appeared in this action.


                                              /s/ Andrew W. Worseck
